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     1     PATRICIA L. GLASER - State Bar No. 55668
           pglaser@glaserweil.com
     2     THOMAS P. BURKE JR. - State Bar No. 288261
           tburke@glaserweil.com
     3     JUSTIN P. THIELE - State Bar No. 311787
           jthiele@glaserweil.com
     4     GLASER WEIL FINK HOWARD
             AVCHEN & SHAPIRO LLP
     5     10250 Constellation Boulevard, 19th Floor
           Los Angeles, California 90067
     6     Telephone: (310) 553-3000
           Facsimile: (310) 556-2920
     7
           Attorneys for Defendants
     8

     9                           UNITED STATES DISTRICT COURT
    10                        SOUTHERN DISTRICT OF CALIFORNIA
    11

    12     ROBERT ALEXANDER KASEBERG,                  CASE NO.: 15-CV-01637-JLS-MSB
    13                       Plaintiff,                Hon. Janis L. Sammartino
    14     v.                                          DEFENDANTS’ MEMORANDUM
                                                       OF POINTS AND AUTHORITIES
    15     CONACO, LLC; TURNER                         IN SUPPORT OF MOTION IN
           BROADCASTING SYSTEM; TIME                   LIMINE NO. 1 FOR SEPARATE
    16     WARNER, INC.; CONAN O’BRIEN;                TRIALS ON THE ISSUES OF
           JEFF ROSS; MIKE SWEENEY; DOES               LIABILITY AND DAMAGES OR,
    17     1–50, inclusive,                            IN THE ALTERNATIVE, FOR AN
                                                       ORDER CLOSING THE
    18                       Defendants.               COURTROOM AND SEALING
                                                       DOCUMENTS DURING
    19                                                 TESTIMONY ABOUT
                                                       DEFENDANTS’ CONFIDENTIAL
    20                                                 FINANCIAL INFORMATION
    21
                                                       Date:      April 11, 2019
    22                                                 Time:      1:30 p.m.
                                                       Courtroom: 4D
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                           MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF
                    MOTION FOR SEPARATE TRIALS ON THE ISSUES OF LIABILITY AND DAMAGES
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     1           Defendants Conaco, LLC; Conan O’Brien; Jeff Ross; Mike Sweeney; Turner
     2     Broadcasting System, Inc.; and Warner Media, LLC as successor-in-interest to Time
     3     Warner Inc. (collectively “Defendants”) hereby submit this memorandum of points
     4     and authorities in support their Motion in Limine No. 1 for Separate Trials on
     5     Liability and Damages or, in the Alternative, to Seal Documents and Close the
     6     Courtroom During Presentation of Confidential Material as follows:
     7           Under the strong protective order entered by this Court, see ECF No. 48,
     8     Defendants have produced dozens of pages of highly confidential financial
     9     information to Plaintiff. This is especially true for Defendants Conaco and Turner
    10     (collectively the “Corporate Defendants”): indeed, these Corporate Defendants have
    11     produced financial records that are confidential even to each other. Public
    12     dissemination of this financial information would cause considerable harm to the
    13     Corporate Defendants’ competitive standing by allowing their competitors to access
    14     sensitive, nonpublic information regarding revenues, costs, profitability, and
    15     advertisers. Accordingly, Defendants’ interest in maintaining the confidentiality of
    16     this nonpublic financial information would likely outweigh the common law right to
    17     public access to judicial proceedings, necessitating the closure of the courtroom and
    18     sealing of documents and transcripts.
    19           Before reaching the question of closing the courtroom, however, Defendants
    20     propose, and move for an order, separating the liability and damages phases of the
    21     trial scheduled for May 28, 2019. Under Federal Rule of Civil Procedure 42, the
    22     Court has the discretion to order separate trials “[f]or convenience, to avoid prejudice,
    23     or to expedite and economize ….” While Rule 42 “confers broad discretion upon the
    24     district court to bifurcate a trial,” Zivkovic v. S. California Edison Co., 302 F.3d 1080,
    25     1088 (9th Cir. 2002), all three factors listed in Rule 42 favor bifurcation in this case.
    26           Regarding convenience, as discussed above, the financial information
    27     underlying the damages calculations in this case is highly confidential. The courtroom
    28     would likely need to be closed during any testimony about damages. See Kamakana
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                            MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF
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     1     v. City & Cty. of Honolulu, 447 F.3d 1172, 1179 (9th Cir. 2006) (“In general,
     2     ‘compelling reasons’ sufficient to outweigh the public’s interest in disclosure and
     3     justify sealing court records exist when such ‘court files might have become a vehicle
     4     for improper purposes,’ such as the use of records to … release trade secrets.”
     5     (quoting Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978))). Of course, if
     6     the trial is bifurcated, this administrative headache could be avoided altogether in the
     7     event of a defense verdict. Even in the event that Plaintiff prevails on some causes of
     8     action, bifurcation would provide for a streamlined process: Defendants anticipate
     9     that nothing would need to be sealed or closed during the liability portion, and
    10     damages could be tried in a consolidated sealed proceeding afterward—likely
    11     requiring only one or two days of testimony, as opposed to closing and opening the
    12     courtroom multiple times during a unified trial, each instance of which is likely to be
    13     a time-consuming distraction.
    14           On prejudice, bifurcation may also help avoid prejudice to the Defendants.
    15     Under 17 U.S.C. § 504, “[i]n establishing the infringer’s profits, the copyright owner
    16     is required to present proof only of the infringer’s gross revenue, and the infringer is
    17     required to prove his or her deductible expenses and the elements of profit attributable
    18     to factors other than the copyrighted work.” Defendants anticipate that Plaintiff will
    19     seek disgorgement of profits for at least the Tom Brady Joke and Washington
    20     Monument Joke. Plaintiff’s own purported financial expert, John H. Reith, has opined
    21     that the revenues attributable to each of the Jokes at Issue are in the range of mid-four
    22     figures.1 See Declaration of Thomas P. Burke, Jr. (“Burke Decl.”), ¶ 3. Defendants,
    23     meanwhile, counter that it is impossible to attribute any particular amount of revenue
    24     to the Jokes at Issue, given that Plaintiff cannot offer any evidence that any of
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    26      Given the sensitive and highly confidential nature of the underlying data,
           Defendants do not cite the exact figures calculated by Reith at this time, though if
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           determined to be material to the outcome of this Motion, Defendants can make
    28     Reith’s report available for in camera inspection or under seal.
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     1     Conan’s estimated revenue2 streams were enhanced by the alleged infringement.
     2     Regardless, the overall conclusion remains that we are not dealing with large damages
     3     figures. However, should Plaintiff attempt to elicit testimony from Conaco or Turner
     4     of gross revenues or budgets for the show, the large figures involved could
     5     irreversibly prejudice the jury in a unified trial. Avoidance of this potential prejudice
     6     favors bifurcation.
     7           And regarding economy, a bifurcated trial is likely to be conducive to
     8     expedition and economy. Of course, in the event of a complete defense verdict, there
     9     will be no need to conduct the damages portion of the trial. But even in the event that
    10     Plaintiff is able to prove infringement for some or all of the Jokes at Issue, the
    11     damages portion of the trial still may not be necessary—such a verdict on liability
    12     would likely drive settlement of the damages portion. Even if a damages trial does
    13     take place, however, the issues may be narrowed so that the damages evidence can be
    14     presented more quickly, and be more clearly understood, than in a unified trial. For
    15     example, only one of the Jokes at Issue (the Jenner Joke) is eligible for statutory
    16     damages. It is possible that the jokes remaining for a damages trial will only be
    17     eligible for actual damages and disgorgement of profits, on the one hand, or statutory
    18     damages, on the other. If only one computation of damages is available, that would
    19     streamline the testimony greatly.
    20           Finally, the issues of liability and damages are clearly separable in this case.
    21     See Bates v. United Parcel Serv., 204 F.R.D. 440, 448 (N.D. Cal. 2001) (including
    22     “separability of the issues” as a factor be considered when determining whether to
    23     bifurcate a trial) (citing William W. Schwarzer, et al., Federal Civil Procedure Before
    24     Trial § 16:160.4). The liability phase will be marked by testimony from Plaintiff,
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    26       As Defendant Turner explained in its Second Amended Supplemental Interrogatory
           Responses, it can only provide estimates of its revenues and profits “as TBS does not
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           keep episode-specific information sufficient to arrive at precise revenue and profit
    28     figures in the ordinary course of business.” Burke Decl., ¶ 2, Ex. 1 at 6.
                                                     3
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     1     from the writers of the Jokes at Issue, from the named individual Defendants, and
     2     possibly from expert witnesses David Barsky and Elayne Boosler (for Plaintiffs, and
     3     the subject of Defendants’ Motions in Limine Nos. 2 and 3) and Jeffrey Kinrich (for
     4     Defendants). The issues of access and independent creation are likely to
     5     predominate—and these do not overlap with damages issues. On Plaintiff’s side,
     6     likely the only repeated witness in a damages trial would be the Plaintiff himself—
     7     and then, only for the limited purpose of proving up his actual damages. Plaintiff’s
     8     expert John H. Reith is concerned exclusively with damages issues. And Defendants’
     9     witnesses are likely to include testimony from a corporate representative of Conaco,
    10     along with rebuttal expert testimony from Kinrich. While some witnesses may be
    11     required to appear and testify twice, it is relatively few, and the subjects of their
    12     testimony are easily separable. Accordingly, this factor favors bifurcation.
    13           Additionally, as a matter of practicality and scheduling, the key witness
    14     designated as “person most knowledgeable” for Defendant Turner, Ayesha Kardar,
    15     will be unavailable to testify during the dates currently scheduled for trial in this
    16     matter due to a planned leave of absence for maternity leave. See Declaration of
    17     Ayesha Kardar, ¶ 3. Bifurcation will relieve the Court and the parties from the burden
    18     of either having to accommodate Kardar’s availability or relieve Defendant Turner
    19     from the burden of designating and preparing a substitute witness.
    20           For the foregoing reasons, Defendants respectfully request that the Court grant
    21     this Motion and order separate trials on the issues of liability and damages or, in the
    22     alternative, issue an order closing the courtroom and sealing all documents and
    23     transcripts during testimony related to Defendants’ nonpublic financial information.
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     1     DATED: March 7, 2019                   Respectfully submitted,
     2                                            GLASER WEIL FINK HOWARD
                                                   AVCHEN & SHAPIRO LLP
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     4
                                                  By: /s/ Thomas P. Burke Jr.
     5                                            PATRICIA L. GLASER
     6                                            THOMAS P. BURKE JR.
                                                  JUSTIN P. THIELE
     7                                               Attorneys for Defendants
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